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                EXHIBIT 3
       Declaration of Nicholas A. Klinefeldt in
Support of Resistance to Plaintiff’s Motion for Remand
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From:            Daniel Suhr
To:              Klinefeldt, Nicholas A.; Bob Corn-Revere
Cc:              bobandersoniowan@gmail.com; Yoshimura, David; grygielm@gtlaw.com; mcnameek@gtlaw.com;
                 kleinsasserz@gtlaw.com; conor.fitzpatrick@thefire.org; adam@thefire.org; greg.greubel@thefire.org
Subject:         Re: Donnelly v Register
Date:            Wednesday, February 12, 2025 10:39:32 AM


This Message originated outside your organization.



That works for me and Bob - see you soon!

From: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Sent: Tuesday, February 11, 2025 4:50 PM
To: Daniel Suhr <dsuhr@americanrights.org>; Bob Corn-Revere <bob.corn-revere@thefire.org>
Cc: bobandersoniowan@gmail.com <bobandersoniowan@gmail.com>; Yoshimura, David
<david.yoshimura@faegredrinker.com>; grygielm@gtlaw.com <grygielm@gtlaw.com>;
mcnameek@gtlaw.com <mcnameek@gtlaw.com>; kleinsasserz@gtlaw.com
<kleinsasserz@gtlaw.com>; conor.fitzpatrick@thefire.org <conor.fitzpatrick@thefire.org>;
adam@thefire.org <adam@thefire.org>; greg.greubel@thefire.org <greg.greubel@thefire.org>
Subject: RE: Donnelly v Register

I will send out an invite for tomorrow at 11:00AM. Let me know if that does not work for anyone.

Nick


From: Daniel Suhr <dsuhr@americanrights.org>
Sent: Monday, February 10, 2025 3:29 PM
To: Bob Corn-Revere <bob.corn-revere@thefire.org>; Klinefeldt, Nicholas A.
<nick.klinefeldt@faegredrinker.com>
Cc: bobandersoniowan@gmail.com; Yoshimura, David <david.yoshimura@faegredrinker.com>;
grygielm@gtlaw.com; mcnameek@gtlaw.com; kleinsasserz@gtlaw.com;
conor.fitzpatrick@thefire.org; adam@thefire.org; greg.greubel@thefire.org
Subject: Re: Donnelly v Register

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Hi Team. Sorry today got away from me. I can be available at your convenience on
Wednesday. Thanks - DANIEL

From: Bob Corn-Revere <bob.corn-revere@thefire.org>
Sent: Friday, February 7, 2025 1:41 PM
To: Nicholas A. Klinefeldt <nick.klinefeldt@faegredrinker.com>
Cc: Daniel Suhr <dsuhr@americanrights.org>; bobandersoniowan@gmail.com
<bobandersoniowan@gmail.com>; David Yoshimura <david.yoshimura@faegredrinker.com>;
grygielm@gtlaw.com <grygielm@gtlaw.com>; mcnameek@gtlaw.com <mcnameek@gtlaw.com>;
kleinsasserz@gtlaw.com <kleinsasserz@gtlaw.com>; conor.fitzpatrick@thefire.org
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<conor.fitzpatrick@thefire.org>; adam@thefire.org <adam@thefire.org>; greg.greubel@thefire.org
<greg.greubel@thefire.org>; David Yoshimura <david.yoshimura@faegredrinker.com>
Subject: Re: Donnelly v Register

I can be available Monday or Wednesday.

Bob
Sent from my iPhone



          On Feb 7, 2025, at 1:39 PM, Klinefeldt, Nicholas A.
          <nick.klinefeldt@faegredrinker.com> wrote:

      ﻿
      Daniel,

      I would suggest trying to set up a call next week to touch base. If you and others agree,
      please let me know your availability.

      Nick


      From: Klinefeldt, Nicholas A.
      Sent: Tuesday, January 21, 2025 11:09 AM
      To: Daniel Suhr <dsuhr@americanrights.org>; bobandersoniowan@gmail.com
      Cc: Yoshimura, David <david.yoshimura@faegredrinker.com>; grygielm@gtlaw.com;
      mcnameek@gtlaw.com; kleinsasserz@gtlaw.com; Bob Corn-Revere <bob.corn-
      revere@thefire.org>; conor.fitzpatrick@thefire.org; adam@thefire.org;
      greg.greubel@thefire.org
      Subject: RE: Donnelly v Register

          Daniel,

          It is our understanding President Trump will likely be filing an Amended Complaint in
          his case by Friday. Given that, what about scheduling a call for Monday afternoon?

          Nick



          From: Daniel Suhr <dsuhr@americanrights.org>
          Sent: Friday, January 17, 2025 10:35 AM
          To: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>;
          bobandersoniowan@gmail.com
          Cc: Yoshimura, David <david.yoshimura@faegredrinker.com>; grygielm@gtlaw.com;
          mcnameek@gtlaw.com; kleinsasserz@gtlaw.com; Bob Corn-Revere <bob.corn-
          revere@thefire.org>; conor.fitzpatrick@thefire.org; adam@thefire.org;
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   greg.greubel@thefire.org
   Subject: Re: Donnelly v Register

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   Of course, Nick, we are happy to get on the phone at any time to discuss the
   case. I know next Monday is a federal holiday, so I want to respect that some
   folks may take that day off. I'm generally free Tuesday, Wednesday (before
   3pm CT), Thursday, or Friday.

   I see several new additions to our email list of counsel from Greenberg
   Traurig - welcome. Could you please clarify which parties they represent?

   Thanks
   DANIEL

   From: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
   Sent: Friday, January 17, 2025 10:19 AM
   To: Daniel Suhr <dsuhr@americanrights.org>; bobandersoniowan@gmail.com
   <bobandersoniowan@gmail.com>
   Cc: Yoshimura, David <david.yoshimura@faegredrinker.com>; grygielm@gtlaw.com
   <grygielm@gtlaw.com>; mcnameek@gtlaw.com <mcnameek@gtlaw.com>;
   kleinsasserz@gtlaw.com <kleinsasserz@gtlaw.com>; Bob Corn-Revere <bob.corn-
   revere@thefire.org>; conor.fitzpatrick@thefire.org <conor.fitzpatrick@thefire.org>;
   adam@thefire.org <adam@thefire.org>; greg.greubel@thefire.org
   <greg.greubel@thefire.org>
   Subject: Donnelly v Register

   Daniel/Bob,

   We wanted to reach out and see if we can set up a call to discuss next steps. Please let
   us know.

   Thanks.

   Nick

   Nicholas A. Klinefeldt
   Partner
   nick.klinefeldt@faegredrinker.com
   Connect: vCard

   +1 515 447 4717 direct / +1 515 321 3850 mobile


   Faegre Drinker Biddle & Reath LLP
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   801 Grand Avenue, 33rd Floor
   Des Moines, Iowa 50309, USA

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